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                    EXHIBIT A
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                             ROBERT W. COWAN

                         CURRICULUM VITAE
                               AND
                   SUPPORT FOR APPOINTMENT AS
            PERSONAL INJURY PLAINTIFFS’ CO-LEAD COUNSEL

     IN RE: FUTURE MOTION, INC. PRODUCTS LIABILITY LITIGATION
                             MDL 3087



A.   Personal Information

     Name:                      Robert W. Cowan
     Law Firm:                  Bailey Cowan Heckaman PLLC ( www.bchlaw.com )
     Years of Practice:         23
     List of Firm Cases Transferred to MDL:

           Oatridge, et al. v. Future Motion, Inc., No. 5:21-cv-09906-BLF, in
           the United States District Court for the Northern District of
           California

           Bunnell, et al. v. Future Motion, Inc., No. 22-cv-01220-CNS-KAS,
           in the United States District Court for the District of Colorado


B.   Position(s) Sought

     Co-Lead Personal Injury Plaintiffs’ Counsel


C.   MDL Experience (listed in order of role importance)




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   MDL Name            Subject Matter &         Leadership Roles        “Unofficial” Roles
                        Current Status                                       Played

MDL 2885               Pensacola-based          Plaintiffs’ Steering    Oversaw
In re: 3M Combat       MDL involving            Committee; also         progression of his
Arms Earplug           military veterans        served as lead          firm’s nearly 3,000
Prods. Liab. Litig.,   suffering hearing        briefing attorney or    viable claimants’
N.D. Fla.              damage from faulty       briefing attorney for   cases through
                       combat arms              two bellwether trial    litigation and
                       earplugs (largest        cases that reached      settlement
                       MDL in history);         jury verdicts (see §
                       MDL is ongoing           D for more details)

MDL 1769               Orlando-based            Plaintiffs’ Lead        Co-lead counsel on
In re: Seroquel        MDL involving            Briefing Attorney,      several bellwether
Prods. Liab. Litig.,   diabetes linked to       coordinating and/or     trial-selected cases;
M.D. Fla.              antipsychotic drug       personally drafting     lead Plaintiffs’
                       Seroquel; MDL            virtually all           counsel on separate
                       proceedings              affirmative and         tranche of Seroquel
                       resolved in 2013         responsive filings      cases filed in
                                                for MDL plaintiffs      Delaware state
                                                (see § D for more       court
                                                detail)

MDL 2789               Newark, N.J.-based       Law partner (Camp       Perform PSC-
In re: Proton Pump     MDL involving            Bailey) is on           delegated legal
Inhibitor Litig.,      kidney-related           Plaintiffs’ Steering    research, writing,
D.N.J.                 injuries linked to       Committee (PSC)         and conduct
                       proton pump                                      30(b)(6) and
                       inhibitor                                        liability depositions
                       (heartburn) drugs;
                       MDL is ongoing

MDL 1596               Brooklyn, N.Y.-                                  Co-lead counsel
In re: Zyprexa         based MDL                                        representing the
Prods. Liab. Litig.,   involving diabetes                               states of Mississippi
E.D.N.Y.               linked to                                        and Louisiana in
                       antipsychotic drug                               deceptive trade
                       Zyprexa; the                                     practice act claims
                       Zyprexa MDL                                      against Zyprexa’s
                       resolved in                                      manufacturer
                       approximately 2012


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     MDL Name             Subject Matter &         Leadership Roles       “Unofficial” Roles
                           Current Status                                      Played

 MDL 2543                Manhattan, N.Y.-                                Co-lead counsel on
 In re: General          based MDL                                       two MDL
 Motors LLC              involving GM                                    bellwether trial
 Ignition Switch         vehicles with                                   selections; both
 Litig., S.D.N.Y.        allegedly defective                             cases resolved;
                         ignition switches                               oversaw settlement
                         linked to personal                              of hundreds of the
                         injury or economic                              firm’s cases
                         loss; MDL is
                         ongoing


D.     Mass Tort Experience

       Since joining BCH and transitioning from the defense side of the civil docket in
2007, Robert has represented well over 25,000 clients in mass tort litigations including
the above (see § C), as well as in the Paxil II Birth Defect Mass Tort Program in
Philadelphia state court (resolved in 2017) and the Essure Product Cases in the California
state court coordinated proceeding (JCCP 4887).

        Beginning in 2019, Robert’s firm began representing clients in MDL 2885, In re:
3M Combat Arms Earplugs Products Liability Litigation. Two years later, he was
appointed to leadership on Plaintiffs’ Steering Committee by Judge M. Casey Rodgers.
Robert led pretrial preparation and served as a member of the trial team for a bellwether
case that, at the time of its trial, produced the highest value single-plaintiff jury verdict in
the MDL. Subsequently, Robert was the lead law and briefing attorney for another
bellwether trial in 2022. MDL 2885 is the largest MDL in history, and Robert oversaw
the litigation and progression through settlement for his firm’s nearly 3,000 participating
cases.

        Robert’s most significant mass tort experience involved serving as national lead
briefing counsel for plaintiffs in the In re Seroquel Products Liability Litigation MDL
(1769). Robert’s law partner served as national co-lead counsel for approximately 15,000
plaintiffs’ claims. From late 2007 to 2013, Robert had direct responsibility for and
oversight over all plaintiffs’ MDL trial- and appellate-level briefing, as well as helped
manage all other aspects of the litigation. Robert and his small staff wrote more than 90
percent of plaintiffs’ filings during his time working on the MDL, and Robert argued
many of those issues to the Court.


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       From 2013 to 2015, Robert was instrumental in helping overcome a second round
of removals by the defendant in BCH’s Paxil II birth defect litigation Mass Tort Program
(MTP) in Philadelphia. On the eve of a slate of MTP trials concerning birth defects
allegedly caused by pregnant mothers’ use of Paxil, defendant GlaxoSmithKline (GSK)
unexpectedly re-removed all the BCH trial cases to federal court. Many of the cases were
then transferred to federal courts in plaintiffs’ “home” jurisdictions. Within days of
removal, Robert drafted and filed the ultimately successful motions to remand (and, in
some cases, second and third motions to remand) and, over the next 2 years, argued many
of those remands in federal court. Finally, after appeal to the United States Court of
Appeals for the Third Circuit, the court decided GSK had wrongly removed the cases the
second time, and all the removed trial cases were eventually remanded to the Philadelphia
Court of Common Pleas from which they had been removed.

        Robert has been a lead lawyer in a dozen or more high-stakes trials and
arbitrations since 2009. In 2011, Robert and his trial team won a unanimous jury verdict
and over $320 million in civil penalties (subsequently reduced to over $124 million) on
behalf of South Carolina consumers in an unfair trade practices case against Ortho-
McNeil-Janssen Pharmaceuticals (OMJP) involving its drug Risperdal. Robert wrote and
oversaw all the trial briefing in the case, and argued most legal issues to the trial court.
Robert and his team successfully defended appeals of the plaintiff’s judgment all the way
to the United States Supreme Court, which denied certiorari in early 2016.

       The year after the South Carolina verdict, Robert and his trial team again defeated
OMJP in another Risperdal-related deceptive trade practices case, this time representing
Arkansas consumers. More recently, Robert and his trial team won over $11 million on
behalf of a widow of a U.S. Navy veteran who died from mesothelioma. Robert and his
team again wrote all the trial briefing, and Robert argued most legal issues to the trial
court. Subsequently, he and his appellate team beat back appeals of the judgment
through the Missouri appellate courts all the way to the United States Supreme Court,
which denied certiorari in 2018.

E.     Settlement Experience

       Robert was directly involved in settling state-law consumer protection cases
against Ortho-McNeil-Janssen Pharmaceuticals (OMJP), AstraZeneca Pharmaceuticals
(AZ), and/or Bristol Myers Squibb (BMS) in Arkansas (AZ 2012, OMJP 2015), New
Mexico (AZ 2012, OMJP 2013), Mississippi (OMJP 2016, AZ 2017, BMS 2018), and
Kentucky (OMJP, 2016) on behalf of each of those states’ attorneys general and after
each of those litigations had been pending for at least 2-3 years, if not significantly
longer. Each of those cases settled between $3 million up to $15.5 million. In 2018,
Robert also helped settle through mediation hundreds of cases involving personal injuries
allegedly caused by defective automobile design/components; Robert and his law partner
directly negotiated the settlement, and Robert oversaw its administration through the

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supervising court. Since 2019, Robert and his law partners directly negotiated mass tort
settlements involving Bayer’s Essure contraception device (over 2,000 cases) and
Monsanto’s pesticide Roundup (nearly 2,000 cases), drafted and finalized settlement
agreements, and was primarily responsible for coordinating the administration of those
mass settlements with the respective oversight courts, establishing treasury regulations-
based qualified settlement funds, and communicating with the respective special masters,
settlement administrators, and the clients.


F.     Curriculum Vitae

                                - LEGAL EXPERIENCE -


August 2007 to          Bailey Cowan Heckaman PLLC, Houston, Texas, Partner
Present                 ⚫  See information above

January 2005 to         Feldman & Rogers, L.L.P., Houston, Texas, Attorney
July 2007               ● Represented large public and private sector entities in
                           business/commercial, employment, and construction litigation at
                           the trial and appellate levels
                        • Represented the City of Houston and Houston Police Department
                           Chief in high-profile First Amendment employment retaliation
                           appeal before the U.S. Court of Appeals for the Fifth Circuit;
                           drafted briefing on the merits for same

April 2004 to           Porter & Hedges, L.L.P., Houston, Texas, Attorney
January 2005            ●  Represented notable former Merrill Lynch analyst in Enron
                           shareholder litigation
                        • Defended mezzanine lenders against multimillion dollar fraud and
                           conspiracy claims stemming from the failure of a secondary oil and
                           gas project in West Texas
                        • Represented developer and manufacturer of application response-
                           time-monitor software in prosecution of trade secret claims against
                           competitor

August 2001 to          Shook, Hardy & Bacon L.L.P., Houston, Texas, Attorney
April 2004              ●  Represented Carlos Slim-Helú, Teléfonos de México (“Telmex”),
                           and related corporate affiliates and principals in successful defense
                           of tortious interference lawsuits in Texas
                        • Drafted successful brief on the merits to the U.S. Court of Appeals
                           for the Fifth Circuit in McLean v. Philip Morris USA Inc. (the
                           “Marlboro Man” case)



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                         - EDUCATION –


             South Texas College of Law, Houston, Texas
             • J.D., Magna Cum Laude, May 2001
             • G.P.A.: 3.506; Class Rank: 8th out of 241 (Top 5%)
             • South Texas Law Review, Member
             • Honors: 2001 Scribes Award Winner, National Brief Writing
                           Champion, presented by the American Society of
                           Writers on Legal Subjects
                        Best Brief & First Place, ABA National Appellate
                           Advocacy Competition
                        Best Brief, National Moot Court Competition
                           (Association of the Bar of the City of New York)
                        Best Brief & First Place, State Bar of Texas Moot Court
                           Tournament
                        Best Brief & First Place, Spong National Moot Court
                           Tournament (William & Mary)

             University of Houston, Houston, Texas
             • Bachelor of Arts: Political Science, December 1990


                      - PUBLISHED WORKS-


             Making Foreign Depositions Less Foreign—Deposition Testimony In
             Foreign Jurisdictions For Use In Texas Courts, THE ADVOCATE (State
             Bar of Texas Litigation Section) Fall 2004, Vol. 28 (with Steven R.
             Selsberg of Mayer, Brown, Rowe & Maw L.L.P.)

             Choice of Law and Claims of Privilege—A Defense Tool Often
             Overlooked, IADC PRODUCTS LIABILITY NEWSLETTER (Int’l Ass’n of
             Def. Counsel, Chicago, IL) Oct. 2001, No. 1 (with Stephen E. Scheve
             of Shook, Hardy & Bacon L.L.P.)

             Note, Pizza Hut Pays the Dough as the Tenth Circuit Hands
             Employers A Bigger Slice of the Sexual Harassment Liability Pie in
             Lockard v. Pizza Hut, Inc., 41 S. TEX. L. REV. 1157 (2000)




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